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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

 MANDAR MIRASHI,

                    Plaintiff,                        Case. No.

                        v.                            COMPLAINT FOR DAMAGES AND
 JOHN DOE,                                            EQUITABLE RELIEF PURSUANT TO:

                An unknown individual(s), 1.The Computer Fraud and Abuse
                                          Act, 18 U.S.C. §1030 et seq.;
                     v.                   2. The New Jersey Computer-Related
                                          Offenses Act, NJSA 2A:38A et seq.;
 521.99931468 Bitcoin,                    3. Common Law Fraud;
                                          4. Common Law Conversion of Property;
                In rem Defendant,         5. Replevin under NJSA 2B:50-1
                                          6. Common Law Unjust Enrichment; and
                     v.                   7. Equitable Relief, Including
 FixedFloat, Kraken, ChangeNow, exch.cx,      (a) Freeze and Disgorgement of Stolen
 TradeOgre, and John Doe 2,                       Assets;
                                              (b) Accounting
                 Relief Defendants.           (c) Establishment of Constructive
                                                  Trust
                                              (d) Freeze of John Doe’s Assets


       Plaintiff Mandar Mirashi brings this case against fictitious defendant John Doe by and
through his attorneys, upon personal knowledge as to his own conduct, and upon information and
belief as to the conduct of others, as follows:
                                            INTRODUCTION

       1.      Plaintiff Mandar Mirashi is the victim of cryptocurrency theft. On February 27,
2025 an unknown hacker stole $40 million in Bitcoin from his cryptocurrency wallets.
       2.      John Doe, whose identity is unknown, used fraudulent tactics including falsified
communications from Google, Ledger, and other parties to access Plaintiff’s computer.
       3.      Once John Doe had access to Plaintiff’s computer, John Doe drained Plaintiff's
cryptocurrency wallets of over $40 million of Bitcoin and other assets.
       4.      Plaintiff is now tracking his assets across the bitcoin blockchain and requests an
order freezing his Stolen Assets, an order freezing the assets of the hacker where such assets can


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be identified, an order instructing certain virtual asset service providers (VASPs) to provide
information on the identity of the hacker and transactions involving the Stolen Assets, and other
relief.

                                                PARTIES

          5.    Plaintiff Mandar Mirashi is an individual who resides in Hudson County, New
Jersey.
          6.    John Doe is the unknown hacker who illegally accessed Mr. Mirashi’s computer
and cryptocurrency wallets and stole Mr. Mirashi’s Bitcoin. Plaintiff does not know John Doe’s
location.
          7.    In rem defendant 521.99931468 Bitcoin is the Bitcoin that was stolen from Mr.
Mirashi by John Doe.
          8.    Relief Defendant FixedFloat is a virtual asset service providers (VASP) that
received deposits of the Stolen Assets. FixedFloat is a Delaware corporation.
          9.    Relief Defendant Kraken is a VASP that received deposits of the Stolen Assets.
Kraken is headquartered in Canada.
          10.   Relief Defendant ChangeNow is a VASP that received deposits of the Stolen
Assets. ChangeNow is headquartered in the Seychelles.
          11.   Relief Defendant exch.cx is a VASP that received deposits of the Stolen Assets.
Exch.cx is registered in Belize.
          12.   Relief Defendant TradeOgre is a VASP that received deposits of the Stolen
Assets. On information and belief, TradeOgre is headquartered in the United States.
          13.   The “John Doe 2” Relief Defendant is one or more unknown cryptocurrency
exchanges that have received 45 deposits of Mr. Mirashi’s Bitcoin.


                                    JURISDICTION AND VENUE

          14.   This Court has subject matter jurisdiction over this lawsuit pursuant to 28 U.S.C.
§1331 because this case involves a federal question under the Computer Fraud and Abuse Act
(18 U.S.C. §1030 et seq.).




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       15.     This Court has personal jurisdiction because defendant John Doe committed an
intentional tort; Plaintiff suffered the harm from the tort in New Jersey; and John Doe directed
his fraudulent conduct at New Jersey.
       16.     Venue is appropriate in this District because Plaintiff Mandar Mirashi is a resident
of this District and the cause of action arose in this District. Plaintiff accessed his wallets and
conducted the transactions referred to herein from his computer in Hudson County, New Jersey.


                                       FACTUAL ALLEGATIONS

       Plaintiff’s Ownership and Custody of the Stolen Assets

       17.     As of February 27, 2025 Plaintiff maintained two cryptocurrency wallets
containing digital assets including 521.99931468 Bitcoin (the “Stolen Assets”).
       18.     Cryptocurrency wallets, like bank accounts, have identifying numbers called
addresses but are otherwise anonymous.
       19.     Plaintiff’s wallets bear the addresses:
36cfw3QiQeJJryX7JbWb1DKL7ZP1zMuF1S (“Plaintiff Wallet 1”) and
33oV5phadHeUPEgjVNH9fVUZsNhAeDLhAN (“Plaintiff Wallet 2”).
       20.     Plaintiff’s wallets are located on the bitcoin blockchain, a publicly available
cryptocurrency ledger which records transactions conducted using the cryptocurrency Bitcoin.
The cryptocurrency Bitcoin, as opposed to the bitcoin blockchain, is referred to as “BTC.”
       The Phishing Attempts
       21.      The attempt to steal Mr. Mirashi’s BTC began on February 25, 2025 at 4:01 p.m.
when Mr. Mirashi received from an email from Google Workspace Alerts informing him that he
was dead.
       22.     The email stated that there was a legal matter involving Mr. Mirashi’s Google
account and provided a case number.




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       23.      Mr. Mirashi clicked on the “Case File” link provided in the email, signed into his
Google account, and learned that Google believed he was dead.
       24.     Mr. Mirashi knew that Google has a procedure for relatives of a deceased Google
customer to retrieve the deceased’s emails, documents, and other materials.
       25.     Later, however, Mr. Mirashi thought it was strange that such an email would be
sent to him, the party listed as deceased.
       26.     Mr. Mirashi immediately contacted Google and told Google that he suspected he
was being hacked.
       27.     Google froze Mr. Mirashi’s security settings and asked him to cancel the case that
was opened, which he did.




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       28.     Mr. Mirashi also maintains several “cold storage” or “hardware” wallets
manufactured by Ledger SAS, a Paris-based company.
       29.     These wallets are small devices designed to store a user’s private keys, which are
the passwords used to access cryptocurrency assets.
       30.     If a fraudster obtains a user’s private keys, the fraudster can control the user’s
cryptocurrency wallets and assets.
       31.     At 8:31 p.m. Mr. Mirashi received an email from support+recover@ledger.com,
which appeared to be from Ledger.
       32.     The email’s line was “Attention Required: Ledger Recover Initiated.” The email
contained the device IDs of Mr. Mirashi’s three Ledger devices as well as his date of birth and
the last four digits of his social security number:




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          33.   Mr. Mirashi knew that Ledger offered a service called “Ledger Recover,” but he
had not subscribed to it.
          34.    The email also referred to an identity verification procedure where Mr. Mirashi’s
drivers’ license would have to be reviewed. The email also provided a link asking for Mr.
Mirashi’s extended public key.
          35.   Mr. Mirashi suspected the email was a phishing attempt and contacted Ledger at
9:32 p.m. informing Ledger that he was not a subscriber and that he believed he was the target of
a phishing scam.




          36.   At 9:33 p.m. Mr. Mirashi received a form response from Ledger.
          37.   At 9:34 p.m. Mr. Mirashi received an email from care@ledger.fr stating that his
case had been close due to inactivity. The email also invited him to click on a link to open a new
ticket.
          38.   At 10:03 p.m. Mr. Mirashi received an email from care@ledger.fr asking for the
phone number or email of the people who contacted Mr. Mirashi so they could be reported to the
authorities.
          39.   At 10:19 p.m. Mr. Mirashi responded stating that he had already sent the original
phishing email to Ledger.




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       40.     The next day, February 26, 2025, Mr. Mirashi received suspicious emails seeking
his Apple credentials. He ignored these.
       41.     Mr. Mirashi also received two Google emails similar to the one he had received
the day before. He ignored these as well.
       42.     At 3:47 p.m. Mr. Mirashi received an email from “Ledger Support” which
informed him that the original phishing email was genuine and that he should follow the
instructions, click on the link provided, and provide his extended public key.




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      43.   Mr. Mirashi responded at 6:45 p.m. that Ledger’s conclusion did not make sense.




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        44.        One minute later Mr. Mirashi received another “case closed” email.
        45.        At 7:24 p.m. Mr. Mirashi received another email from Care Ledger informing
 him that “after further review of this case” Ledger concluded that Mr. Mirashi was, in fact,
 enrolled in the Ledger Recover process, and that if he suspected any fraudulent activity he should
 complete the verification request and provide his extended public key to help Ledger protect him
 and his assets:




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        46.     Mr. Mirashi responded at 7:24 p.m. seeking further information, and a minute
 later received another “case closed” email.
        47.     At 7:41 p.m. Mr. Mirashi received an email from Care Ledger purporting to
 answer his questions.




        48.     Mr. Mirashi exchanged more emails with Care Ledger again at 8:11 and 8:21
 p.m.


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        49.    In the meantime, at 7:21 p.m. Mr. Mirashi posted in a Reddit group dedicated to
 Ledger issues and asked about the suspected phishing attempt requesting he provide his extended
 public key.
        50.    At 7:31 and 7:33 p.m. Reddit user “Large-Front-658” (since deleted) responded
 and encouraged Mr. Mirashi to respond to the Ledger email, complete the verification process,
 and provide his extended public key. But Mr. Mirashi did not do so (nor did he at any time).




        51.    Another Reddit user associated with Ledger itself later responded to Mr. Mirashi
 warning him not to respond to the email, saying it was a scam.
        52.     A few minutes after this warning response, at 8:30 p.m., Mr. Mirashi found that
 his Reddit account of 16 years had been deleted.
        53.    Mr. Mirashi immediately suspected that his system had been severely
 compromised since someone would need his Reddit password to delete his account.
        54.    At 8:34 p.m., a few minutes after his Reddit account was deleted, Mr. Mirashi
 moved 300 BTC from his Ledger wallet to his Electrum hot wallet because he believed his
 Ledger wallet might be compromised.
        55.    He also immediately changed his Google password, and began the laborious
 process of changing his other passwords.
        56.    At no point did Mr. Mirashi provide his private key to anyone, nor was it stored
 on his computer.




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          The Attempted Theft Of Mr. Mirashi’s BTC
          57.   Suddenly at 9:14 p.m. Mr. Mirashi saw a pending transaction attempting to move
 302 BTC from his Electrum wallet to address bc1q8fvx5trkyfvt9xmj43pmum9de76lhq0euntngr
 (referred to as the “Hacker address”) which was not an address Mr. Mirashi knew.




          58.   Mr. Mirashi acted immediately and successfully nullified the transaction before it
 was confirmed on the bitcoin blockchain, as shown by the red “Invalid” transaction record
 above.
          59.   Mr. Mirashi then immediately moved the BTC back to the Ledger wallet.
          60.   Mr. Mirashi believed he had avoided disaster because he had changed all the
 passwords.




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        The Theft Of The BTC
        61.      However, the following afternoon at 2:20 p.m. on February 27, 2025,
 521.99931468 BTC was stolen from Mr. Mirashi’s two Ledger wallets and sent to the Hacker’s
 address:




        62.      Mr. Mirashi discovered the theft at around 5 p.m. He immediately contacted
 Ledger support and the FBI.
        Tracking The Bitcoin After The Theft
        63.      One of the features of blockchain technology is transparency. A record of the
 movement and transfers of various assets can be reviewed on the bitcoin blockchain. Each
 transaction has a unique identifier.
        64.     Another feature of blockchain technology is its relative anonymity. Blockchain
 users are identified by their public wallet addresses, not their names.
        65.     As is typical in cryptocurrency thefts, John Doe has moved the Stolen Assets
 many times to try to obscure the trail.
        66.     Mr. Mirashi retained Token Recovery, a blockchain analysis company, to track
 the Stolen Assets.
        67.     From the Hacker address, Mr. Mirashi’s BTC was split up and moved around to
 197 private wallet addresses and 140 addresses associated with virtual asset service providers
 (VASPs) in 668 transactions.


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        68.     Plaintiff has identified five VASPs and one unidentified exchange or exchanges
 that received deposits of Mr. Mirashi’s BTC, which are named as Relief Defendants.
        69.     As of this date 353 BTC have been deposited with the Relief Defendants.
        70.     Relief Defendant FixedFloat received 70 deposits.
        71.     Relief Defendant ChangeNow received 4 deposits.
        72.     Relief Defendant Kraken received 38 deposits.
        73.     Relief Defendant eXch.cx received 15 deposits.
        74.     Relief Defendant TradeOgre received 70 deposits.
        75.     Relief Defendant John Doe has received 45 deposits.
        76.     In addition, 169.24 of Mr. Mirashi’s BTC has been located in five private wallets
 on the bitcoin blockchain. These wallet addresses are:
                bc1qedyy7dfqz7kcesk8ap5kv0sq90c0cctv75fjda;
                bc1q5uhs4kwaq685hx2p9klhzufw6kzck65x9znvua;
                bc1qwjtuqew73j8zhc0xhezx905fvytj5g4307czjf;
                35sBUp4t5t8gerEu9HswPiNhRSTnnS8qWX; and
                38WP9sta67jMzwPrzWfrGMci7qVCpX4cFY.

                                          CAUSES OF ACTION

                                           COUNT ONE
                     Violation Of The Computer Fraud And Abuse Act (“CFAA”)
                                       18 U.S.C. §1030 et seq.

        77.     Plaintiff repeats and realleges the above paragraphs as if fully set forth herein.
        78.     The CFAA gives Plaintiff a private right of action against computer hackers.
        79.     Plaintiff’s computer is equipped with email, internet browsing software, and
 access to social media. Accordingly, Plaintiff's computer is a “protected” computer used in
 interstate commerce and communication.
        80.     John Doe had no authorization to access Plaintiff’s computer.
        81.     John Doe knowingly accessed Plaintiff’s computer did so with the intent to
 defraud and steal from Plaintiff.
        82.     John Doe used the unauthorized access to steal 521.99931468 BTC from Plaintiff,
 far exceeding the CFAA minimum threshold of $5,000.



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        83.     Plaintiff is entitled to compensatory damages.
        84.     Plaintiff is further entitled to injunctive and equitable relief pursuant to the CFAA
 including but not limited to (i) an order enjoining John Doe from accessing plaintiffs wallets; (ii)
 an order requiring John Doe to disgorge his ill-gotten gains; (iii) an order for an accounting of
 the amount and location of Plaintiff’s Stolen Assets; (iv) an order imposing a constructive trust;
 (v) an order freezing the assets of John Doe; and (vi) an order enjoining the further transfer or
 disposition of Plaintiff’s stolen assets by any party.
                                          COUNT TWO
              Violation of New Jersey Computer-Related Offenses Act, N.J.S.A. § 2A:38A

        85.     Plaintiff repeats and realleges the above paragraphs as if fully set forth herein.
        86.     Defendant John Doe purposefully, knowingly and without authorization, took
 data from Plaintiff’s computer, i.e. the passcodes to Plaintiff's software wallets, in violation of
 N.J.S.A. §2A:38A-3(a).
        87.     Plaintiff is entitled to compensatory damages, punitive damages, costs of suit,
 attorneys fees, costs of investigation, and litigation costs pursuant to N.J.S.A. §2A:38A-3.
        88.     Plaintiff is further entitled to injunctive and equitable relief pursuant to N.J.S.A.
 §2A:38A-5, including but not limited to (i) an order enjoining John Doe from accessing plaintiffs
 wallets; (ii) an order requiring John Doe to disgorge his ill-gotten gains; (iii) an order for an
 accounting of the amount and location of Plaintiff’s stolen assets; (iv) an order imposing a
 constructive trust; (v) an order freezing the assets of John Doe; and (vi) an order enjoining the
 further transfer or disposition of Plaintiff’s stolen assets by any party.
                                             COUNT THREE
                                            Common Law Fraud

        89.     Plaintiff repeats and realleges the above paragraphs as if fully set forth herein.
        90.     On February 26 and 27, 2025 John Doe sent various phishing emails to Plaintiff
 impersonating Google and/or Ledger.
        91.     As a result of these phishing emails, John Doe was able steal Plaintiff’s BTC.
        92.     Plaintiff is entitled to actual, compensatory, and punitive damages.
                                               COUNT FOUR
                                                Conversion

        93.     Plaintiff repeats and realleges the above paragraphs as if fully set forth herein.



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           94.    As of February 27, 2025, Plaintiff owned and had the right to possess the Stolen
 Assets.
           95.    When John Doe drained Plaintiff’s crypto wallets of BTC, John Doe intentionally
 took possession of, and assumed control over, the Stolen Assets.
           96.    John Doe has intentionally exercised control, and continues to exercise control,
 over the Stolen Assets in such a way as to preclude Plaintiff from using or possessing the Stolen
 Assets.
           97.    John Doe knew the Stolen Assets were stolen or obtained in a manner constituting
 theft.
           98.    Accordingly, John Doe wrongfully converted the Stolen Assets.
           99.    As a direct and proximate result of the conversion, Plaintiff suffered damages and
 continues to suffer damages as long as the Stolen Assets are in the possession of John Doe.
           100.   Plaintiff is entitled to actual damages, compensatory damages, interest, expenses,
 and any other relief the court deems just and proper.

                                               COUNT FIVE
                                       Replevin under N.J.S.A 2B:50-1

           101.   Plaintiff repeats and realleges the above paragraphs as if fully set forth herein.
           102.   On February 27, 2025, John Doe acquired possession of the Stolen Assets from
 Plaintiff through fraud, and John Doe wrongly holds the Stolen Assets.
           103.   John Doe has intentionally exercised control, and continues to exercise control,
 over the Stolen Assets in such a way as to preclude Plaintiff from using or possessing the Stolen
 Assets.
           104.   John Doe has no right to possess the Stolen Assets.
           105.   John Doe did not take the Stolen Assets to satisfy any tax, assessment, lien, or
 attachment against Plaintiff.
           106.   Plaintiff is entitled to the return of the Stolen Assets and other relief that the court
 may deem just and proper.

                                                 COUNT SIX
                                               Unjust Enrichment

           107.   Plaintiff repeats and realleges the above paragraphs as if fully set forth herein.


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           108.   John Doe obtained a benefit when he stole Plaintiff’s BTC.
           109.   Under the circumstances, it would be against equity and good conscience to
 permit John Doe to retain the Stolen Assets.
           110.   Plaintiff is entitled to restitution and such other relief as the court deems just and
 proper.
                                                  COUNT SEVEN

                Equitable Relief Against John Doe and the Relief Defendants:
   (i) Enjoining Current and Future Holders Of The Stolen Assets From Transferring Or
  Disposing Of The Stolen Assets; (ii) Enjoining Current and Future Holders Of The Stolen
    Assets To Disgorge the Stolen Assets; (iii) Establishing a Constructive Trust Over the
                 Stolen Assets; and (iv) An Accounting of the Stolen Assets.

           111.   Plaintiff repeats and realleges the above paragraphs as if fully set forth herein.
           112.   Plaintiff and his expert have traced the Stolen Assets to certain wallets whose
 owners are unknown and to certain identifiable VASPs.
           113.   The assets stolen by John Doe are specific and identifiable property and can be
 traced to John Doe.
           114.   In order to further prevent the dissipation of the Stolen Assets, Plaintiff requests
 an order enjoining the transfer or disposition of those assets, including present and future holders
 of the Stolen Assets.
           115.   The Stolen Assets being held by John Doe and the Relief Defendants must be
 disgorged to Plaintiff because John Doe is not entitled to the benefits of the Stolen Assets.
           116.   The Stolen Assets must be held in trust for Plaintiff because John Doe is not
 entitled to the benefits of the Stolen Assets.
           117.   John Doe has attempted to dissipate the Stolen Assets with the goal of making the
 Stolen Assets difficult to track.
           118.   Plaintiff requests an accounting as to the location of the Stolen Assets.
           119.   Plaintiff requests the imposition of a constructive trust upon the property that was
 stolen from him by John Doe.

                                           PRAYER FOR RELIEF

           WHEREFORE, Plaintiff demands judgment in his favor and against defendant John Doe
           as follows:



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            a. An injunction ordering John Doe and the Relief Defendants to disgorge the Stolen
               Assets;

            b. An injunction preventing any unknown holders of John Doe’s Stolen Assets from
               transferring or otherwise disposing of the Stolen Assets.

            c. An injunction ordering any unknown holders of John Doe’s Stolen Assets to
               disgorge the Stolen Assets.

            d. An order awarding Plaintiff actual, compensatory and consequential damages;

            e. An order awarding Plaintiff punitive damages in an amount to be determined but
               no less than $1 million.

            f. An order awarding Plaintiff pre- and post- judgment interest;

            g. An order awarding Plaintiff attorney’s fees, expert and consultant fees and
               expenses, and costs; and

            h. Such other and further legal and equitable relief as the court deems just and
               proper.

                                      DEMAND FOR JURY TRIAL

        Plaintiff demands a jury trial for all issues so triable.

 Dated: March11, 2025

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